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                                               UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF KENTUCKY
                                                       AT LOUISVILLE
                                                     (Electronically Filed)

                        NO. 3:23CR-11-DJH
                        UNITED STATES OF AMERICA,                                                      PLAINTIFF,


                        vs.


                        JOSEPH STARLING,                                                             DEFENDANT.


                                                                  ORDER

                               Defendant having moved the Court to continue the trial herein; the United States

                        having no objection thereto; the Court finding that the ends of justice served by the granting

                        of said motion outweigh the best interests of the public and the defendant in a speedy trial;

                        and the Court being otherwise sufficiently advised,

                               IT IS ORDERED AND ADJUDGED that the trial in this action scheduled for May

                        22, 2023, be, and the same hereby is, vacated.

                               IT IS FURTHER ORDERED AND ADJUDGED that this matter be, and the same

                        hereby is, reassigned to ___________________, at the hour of _____________ .

                               IT IS FURTHER ORDERED AND ADJUDGED that the period of delay resulting

                        from the continuance of this action be, and the same hereby is, excluded in computing the

                        time within which the trial of the offenses charged herein must commence pursuant to 18

                        USCA §3161(h)(7)(A), §3161(h)(7)(B)(ii), and §3161(h)(7)(B)(iv).


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